Case 21-04077   Doc 16-7 Filed 01/14/22 Entered 01/14/22 21:47:06   Desc Exhibit
                        G Order of Contempt Page 1 of 2




                         Exhibit “G”
Case 21-04077       Doc 16-7 Filed 01/14/22 Entered 01/14/22 21:47:06                          Desc Exhibit
                            G Order of Contempt Page 2 of 2

     Case 19-42834        Doc 108     Filed 10/22/21 Entered 10/22/21 13:54:47              Desc Main
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                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

     IN RE:
                                                        Case No. 19-42834
     MUHAMMAD NASIR SIDDIQI                             Chapter 7

                                    Debtor

                                        ORDER OF CONTEMPT

           ON THIS DAY CAME ON FOR CONSIDERATION the Motion to Show Cause Why the

    Debtor Should not be Held in Contempt or Sanctioned [Dkt. #101] filed by Mark A. Weisbart,

    Chapter 7 Trustee (“Trustee”) seeking an order of contempt against Muhammad Nasir Siddiqi

    (“Debtor”) for failure to comply with the Court’s Agreed Order Regarding Trustee’s Objection to

    Exemptions [Dkt. #64] (the “Exemption Order”). Appearances were made by Trustee and Eric

    Liepins, Debtor’s counsel. Based on the record before the Court, including the statements of

    counsel, the Court finds that the Debtor is in contempt of Court for failure to comply with the

    Exemption Order. Accordingly, it is hereby

           ORDERED that Debtor shall turn over his non-exempt Chevy Tahoe (the “Vehicle”)

    within seven (7) calendar days of this hearing, by delivering same to Trustee at his offices, together

    with the keys, and any documentation in Debtor’s possession related to the Vehicle; it is further

           ORDERED that Debtor shall amend his Schedules as required by the Exemption Order

    within seven (7) calendar days; it is further

           ORDERED that failure to comply with this Order may result in the Debtor’s imprisonment.

           IT IS SO ORDERED.


                                                         Signed on 10/22/2021

                                                                            YM
                                              HONORABLE BRENDA T. RHOADES,
                                              &+,()UNITED STATES BANKRUPTCY JUDGE
